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                       IN TIIE UNITED STATES DISTRICT COURT
                      FOR THE NORTHER}I DISTRICT OF ILLINOIS
                                  EASTERII DIVISION      RECEIVED
 BURI{YSS PERRY,                                                                   ocT 0 ? zolhe-
                                                                                THOfulAS G. BRUTON
                                            PlaintiE                         CLERK, U.S. DISTRICT COURT
        v.
 ILLINOIS I}EPARTMENT OF                                        1:15-cv{8905
 CORRECTIONS, an entity organized and                           Judge Rebecca R- PallmeYer
 existing under the laws and statutes of Illinois;              magistmte Judge Sidney l- Schenkier
 SALVADOR GODIIIEZ sued in his individual
 capacity as agent and servant of Illinois                           Trial by Jury Demand
 Deparfinent of Corrections; GLENIN AUSTIN,
 Warden of Illinois Department of Corrections,
 Austin sued in his individual capacrty as agent
 and servant of Illinois Deparfinent of Corrections,
 RITA ROS$ sued in her individual capacity as
 agent-servant of Illinois Department of
 Corrections,
                                        Defendants.


                                       COMPL{NTATLAW
       Now comes Plaintiff, Burnyss Perry, refered to as ("Perry") as Plaintiff to this action; by and

acting pro-se, complains of defendants, Illinois Department of Comections, referred to as ("IDOC") as

defendant to this action; Salvador Godinez, referred to as ("Godinez") as defendant to this action; Glenn

Austin referred to as ("Austin") as defendant this action; Rita Rossi Referred to as ("Rossi")            as


defendant to this action; and stated the following reasons:

       A.       JURISDICTIONANDVENT]E

        t.   This court has jurisdiction over plaintiffs federal claims pursuant to 28 U.S.C.A. Section

1331' 1343(3), L343(4), which vests redress of plaintiffs claims of being deprived of her constitutional

rights to have been secure in his person due to defendants wrongfirl imprisonment caused him to loss      of
his coustitutional rights and liberty, without due process of law.

       2.    The Fourteenth Amendment Provisions create Federal Question Jurisdiction and are actionable

pursuant to Federal statutes 42 U.S.C.A. Section 1981, 1983 and 1985 (3).
  '       Case: 1:15-cv-08905 Document #: 1 Filed: 10/07/15 Page 2 of 50 PageID #:2
        ,.  Plaintiff also invoked the court's supplementary jurisdiction authority to exercise pending

jurisdiction over state law and cofirmon law claims that arise out of the same hansaction and occurrence

in that they arise from the same case.

        4.   That the statutory authority is 28 U.S.C.A. Section 1367(a) and plaintiffs state law claims

included violation of the Illinois Civil Rights Act.

        5.   The Federal Court have authority to hear and decide state law claims: False imprisonment,

intentional infliction ernotional distress.

        6.   Defendants, IDOC and its apparent agents, Salvador Godinez, Glenn Austin and Rita Rossi,

they was acting under color of state 1aw. Defendants did deprive Perry of his liberfy and equal protection

of the laws and due process.

        7.   Yenue is proper pursuant to 28 U.S.C.A. Section 1391 (b), as all the even occumed in Cook

County, Chicago, Illinois which is within the United States District Court for the Northern District         of
Illinois, Eastern Division.

        B.       42 U.S.C.A. SECTION 1981. 1983 and 1985(3)

        C.       CTWLACTION FOR VIOLATIONS OF DEPRIVATION

        8. Every person who, under color of any    statute, ordinance, regulation, custom, policy or usage   of
any state or territory of the District of Colombi4 subjects, or causes to be subjected any Citizen of the

United States or other person with the jurisdiction thereof to the deprivation of any rights, privileges of

communities secured by the constitution law shall be liable to the parly injured in an action at law, suit in

equity or other person proceeding for redress for the purpose of this section, any Act of Congress

applicable exclusively to the    Distict of Colombia shall be considered to be a statue of the District of
Columbia.

        D.      JT}RYDEMAND



        E.      CTTIZENSIilP OF TIIE PARTfES
                                                       2
         Case: 1:15-cv-08905 Document #: 1 Filed: 10/07/15 Page 3 of 50 PageID #:3
        9. Plaintiff, Burnyss Perry,
                                was at all relevant times was an African American ("Black") Citizen

of the United States of America and resided in the City of Chicago, County of Cook, State of Illinois.

        10. The IDOC an entity organized and existing under the laws and state of lllinois. At                all

material times to this cause of action, IIIOC, is the employer of Salvador Godinez are responsible for his

wrongful acts of Godinez while employed by IDOC, and was acting within the scope of his employment.

        11. Defendant Godinez, at all relevant times, upon infonnation and believed to be a resident of

the State of lllinois. Defendant Godinez was at all times material hereto was a duly appointed decision

maker for the Illinois Depar&nent of Corrections as its apparent agent-servant of IDOC.

        12. Upon information and believe defendant, Godinez at all times was agent-servant hereto this

cause of action. The IDOC are responsible and can be held liable for his wrongful acts of its agent-

servant, employee    of IDOC, while employed by IDOC Godinez was acting within the scope of his
employment, Godinez was performing ministerial acts in violation of IDOC of due process. Godinez sued

in his individual capaclty.

        13. Defendanq Godinez, who were duly appointed and anointed with all the power and cloaked

with the authority to fi.rnction under direction of IDOC and Glenn Austin and his position and uader

color and pretense of the statutes, ordinances, regulations, customs and usages of the State of Illinois,

County of Cook, and under color of state law within the scope of his employment.

        14. The IDOC     as aa   entif   organized and existing under the laws and statutes of   Illinois. At all
material times to this cause of action, Illinois Departnent of Corrections is the employer of Glenn Austin,

are responsible for his unoogful acts of Austin while employed by     IDOC and was acting within t}te scope

of his employment.

        15. Defendant Glenn Austin, at all relevant times, upon information and believe to be a resident

of the State of lllinois. Austin was at all times material hereto was a duly appointed agent-servant by

moc.
        16. Upon information and believe Austin at all times was the warden of IDOC hereto this cause
         Case: 1:15-cv-08905 Document #: 1 Filed: 10/07/15 Page 4 of 50 PageID #:4
of action. The IDOC arc responsible and can be held liable for his wrongful acts of tis agent-servant,

employee of IDOC, while employed by IDOC Austin was acting within the scope of his employmen!

Austin was performing ministerial acts. Austin sued in his individual capacrty.

           17. Defendant, Austin, who were duly appointed and anointed with all power and cloaked with

the authority to function under direction of IDOC and Glenn Austin and his position and under color and

pretense of the statutes, ordinances, regulations, customs and usages of the State of Illinois. County            of
Cook, and under color of state law within the scope of his employment.

           18. IDOC, an entity organized   and existing under the laws and statute   of Illinois. At   a1l   material

times to this cause of action, IDOC, is the employer of Rita Rossi are responsible for her wrongful acts          of
Rossi while empioyed by IDOC and was active within the scope of her employment.

           19. Defendant, Rossi, at all relevant times, upon information and believe to be a resident of the

state of   Illinois. Defendant Rossi was at all times material hereto was a duty appointed decision maker for

the IDOC as its apparent agent-servant of IDOC.

           2A. Upon information and believe defendant, Rossi, at all times was ageniservant hereto this

cause   of action The IDOC are responsible and can be held liable for her wrongful acts of its                agent-

servant, employee      of IDOC, while employed by IDOC Rossi was acting within ttre scope of her
employment. Rossi was performing ministerial acts and Rossi sued in her individual capacity.

           21. Defendant Rossi, who were duly appointed and anointed with all power and cloaked with the

authority to function under direction of IDOC and Glenn Austin and his position and under color and

pretense of the statutes, ordinances, regulations, customs and usages of the State of Illinois, County            of
cook, and under color of state law within the scope of her employment.

           H,     EACTS UPON WHICH RELIEF IS CLAIMED

           22. In Decemb er    2012, plaintitr, Burnyss Perry, an inmate     in the custody of the Illinois
Departrnent of Correctiorq filed apro se petition writ of mandamus pursuant to Article 14 of the Code              of
Civil   Procedure (Code) (735 ILCS 5/14-rc1         to   14-109 (West 2A14). Piaintiff sought          to    compel
           Case: 1:15-cv-08905 Document #: 1 Filed: 10/07/15 Page 5 of 50 PageID #:5
defendants Salvador Godinez, Glenn Austin, and Rita Rossi (collectively, the Departrnent) to credit his

sentence 576 days pursuant to the tenns of his negotiated guilty plea agreement.

         23. The Department filed      a   motion for summary judgment pursuant to section 2-1005 of the Code

(735 ILCS 512-L0A5 (West 2012)), arguing that plaintiffs September 18, 2014, release had been properly

calculated. The Department argued fi.rther that, were it to apply the credit as ordered by the sentencing

court, plaintiff s release date would be later than September 18, ZAru.

         24.    Following a June 2013 hearing, the trial court entered a written order, directing the

Departrnent to o'awa.rd" [plaintiff] 576 days of credit offhis calculated out date of September 18, 2014.'

         25.   T1lre   Department appealed, and we granted the Department's motion for an emergency stay     of
the trial court's order and agreed to accelerate our consideration of this appeal. Because we conclude that

the Department had a clear, nondiscretionary duty of give effect to the sentencing court's order that

plaintiff be awarded 576 days of crediq we affirrn the trial court's judgment granting plaintiffs petition

forwrit of mandamus.

         26. The controversy in this case arises &om the Department's calculation of plaintifPs total

term total term         of   confinement, which was complicated by the        trial court's imposition of    an

additional term of confinement while plaintiffwas already serving nine concurrent prison terms.

         27.   The additional term was ordered to run consecutively to plaintiffs existing concurent

terlrls, with 576 days of credit applied. To understand how the Deparhnent reached its conclusion

as   to plaintiff s September 18,2074, projected release date, we review the facts in detail.

         28. However, because the record in this mandamus action           does not include the records   from

plaintiffs lOunderlying criminal cases, our review of the facts that led to plaintiffs convictions           is

limited. [2005 Cases.]

         29. Prior to November 5,2008, defendant pleaded guilty to nine counts oftheft (720 ILCS 5/15-

t(aXl) (West 2004)) (Cook County case Nos. 05-CR-2600601, 05-CR-260O7O1,05-CR-2600801,                      05-

CR-2600901, 05-CR-2601001, 05-CR-26012A1,05-CR-2601301, and 05-CR-2601401).
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       30. On November 5, 2008, a Cook County trial court sentenced plaintiff to seven yeaf,s'
imprisonment on each of the nine separate convictions. The court ordered the nine sentences to run

concurrently, for a total term of seven years, and awarded plaintiff 156 days of credit for time served

between his arrest and sentencing. [Case no. 08-CR-2252801].

       31.   On December 15, 2008, the State filed a Z4-count information against plaintiff (Cook

County case No. 08-CR-2252801) for various criminal offenses arising from a mortgage fraud

scheme he allegedly perpekated between November 2AO7 and February 2008-a period                   of time
during which he was released on bond in his earlier nine cases.

       32. On July 14, 2OlO, plaintiff pleaded guilty in case No. 08-CR-2252801 to one
count of theft pursuant to a fully negotiated guilty plea. Inexchange for his guilty plea, the       StaLe

dismissedtheremaining charges andrecommended asentenceofsevenyears'imprisonment.

       33. Pursuant to the terms of the guilty-plea agreement,       a Cook County   trial court sentenced
plaintiff to seven years' imprisonment and awarded him 576 days of sentencing credit. That

sentence was to run consecutively to    plaintiff s nine existing concurrent sentences. With regard to

the 576 days of credit,the court's sentencing order stated as follows:

       34. "The Court finds that the defendant is entitled to receive credit for time actually     served

in custody for a total credit of 0576 days   as   of the date of this order[.]" The Department's Execution

of the July 14, 2010, Sentencing Order on July lg, 201A, the Deparhnent issued plaintiff a new

sentence calculation sheet that reflected the addition of the seven-year consecutive sentence term in

case No- 08-CR- 2252801 but did not reflect            tbe 576 days of sentencing credit the trial court
awarded.

       35. On August 9, 2AlA, plaintiff filed a formal          grievance with the Deparhent "for the

Court[-]ordered 576[-]day Jail Credit." The following day, plaintiff s prison counselor denied the

grievance aad returned it to plaintiff with a notation stating the following:

       36.   "The sentencing order does not state to aggregate yourjail credits (576,156 days). In
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order for them to be combined you'll need a corrected [sentencing order] stating such. The Records

Office should be contacted by you via request slips if you have firrther concerns."

       37. Plaintiff advanced his grievance through several steps of administrative review that need

not be detailed for purposes of this appeal. On December 1,2010, the Department's Administrative

Review Board issued plaintiff a response, which read, in pertinent part, as follows: "Per the

offender's [sentencing orded thejudge did not orderthe     jail   credits of the consecutive cases to be

aggregated, therefore, the sentence calculation has been done correctly."

       38. On December 21, 2010, plaintiff filed a motion to amend the sentencing order with the

Cook County trial court, alleging, in pertinent part, the following: That his Honorable Court

granted [plaintiffJ 576 days credit for time actually served in custody. That [plaintifiJ, was informed

by the [Deparhnent's] Record Officer that the 576 days credit granted to [ptaintiff] by this court

cannot be honored, and     will not be calculated within the sentence calculation shee!      unless this

court specifically makes mention ofthe credit to be aggregated with the consecutive sentence.

       39.   (See attached Administrative Review Board answer         to [plaintiff s] grievance[.]) That

[plaintiff] respectfully request[s] of this Honorable Court to issue a statement within the [sentencing
order] that the 576 days credit is to be aggregated with [plaintiff s] consecutive sentence, in[]order

for [the Illinois Deparhnent of Corrections] to credit [plaintiff] for all time served in custody,    as

ordered by this court."

       40. On January 11,2011, in response to plaintiff s motion, the sentencing court issued an
   .
amended sentencing order that stated, in pertinent part, as follows: "The Court finds that [plaintitr]

is entitled to receive credit for time actually served in custody for a total credit of 0576 days as of

the date ofthis order[.J

       4l.Itis   further ordered that also consecutive with [Nos.] 05t-lcRt-12601001 thru 05[-]CR[-

126016 credit in aggregate nunc pro tune &om 7-14-2OlO[.]" The Department received the amended

sentencing order but did not change plaintiff s projected release date. Later in January, plaiatiff
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asked defendant Rossi, the records office administrator of the Jacksonville Correctional Center, to

change his calculation sheet to reflect the amended sentencing order.

        42. According to plaintiff s mandqmr.r petition, Rossi told plaintiff in person in the records

office that "the Judge can't do this!" Plaintiff made additional requests within the Department to

have his projected release date changed to reflect the 576 days credit.

        43. In a February 17,2A11, letter to Gina Allen of the Office of Inmate Issues, plaintiff

stated the following: "My problem now is, the Court corrected the [sentencing order], reflecting [the

Departrnent's] policy, ordering the custody credit to be aggregated. However, Rita Rossi within

Jacksonville [Correctional Center] Record[s] Office refuse[d] to honor the court's order.

        44.    Ms. Rossi called me over to the Record[ s] Office, and told me personally that the new

court[-]ordered [sentencing order] has no impact on her decision-that "thejudge cannot do this."

Plaintiff sent another letter to Allen   a   week later, attaching the amended sentencing order.

         45. A stamp onthat leffer indicates that the Office of Inmate Issues received the letter on

March    I,2All.    A handwriuen notation onthe letter states, as follows: "This office cannot assist
w[ith] this.    The judge must make a ruling and send corrected/amendments [sic            J to the parent
facility."

        46. Plaintiffs Petition for W1rt of Mandamus.In December 2012, plaintiff filed the instant

petition for writ of mandamr.r in which he sought "to compel the fDepartment] to comply with the

[trial court's] order and subtract 576 days from the Plaintiffs calculation sheet."

        47. In February    2A13, the Deparhnent filed (1) a motion for summary judernent,            Q) a
memorandum of law in support of themotion, and (3) an affrdavit completed by defendant Rossi

describing the calculations used by the Department to reach plaintiff s projected release date          of
September 18, 2014. In her affidavit, defendant Rossi explained the following calculations the

Deparbnent used to reach plaintiffs projected release date.

        48.   Because the Departrnent's elaborate calculations are ceatral to this appeal, we set them
             Case: 1:15-cv-08905 Document #: 1 Filed: 10/07/15 Page 9 of 50 PageID #:9
forth in full, as follows: [Plaintifi] was sentenced to seven years['] incarceration for each of his

cases [(Nor. 05-CR-2600601 through 05-CR- 2601401)].

         49. The       sentences were concurrent    to one another for a total   sentence   of   seven years.

[Citation to exhibit.] [Plaintif{ was sentenced to an additional seven yeaxs incarceration in case

[No.] 0[8]-CR'2252801. The sentence was consecutive to [plaintiff s] sentences in            [case   Nos. 05-

CR-2600601 through 05-CR-26014011.

         5   0.    [Citation to exhibit.] Thus, [plaintiff] has two seven-year sentences for a total of
fourteen years; however, he receives day-for-day credit, making his length of incarceration 7 years

total.

         51   .   [Citation to exhibit.] In order to calculate an inmate's custody date, the Records Office

looks atthe date of the Order of Commitment and Sentence and any awardedjail credits. In this

case, [plaintiffs] Orders of Commitment and Sentence for his cases 05-CR-600601 through case

05-CR- 26A1401 were dated November 5,20A8, and awarded him 156 days of custody credit.

         52. Thus,his custody credit of five months and six days (156 days divided by 30 days per

month) was subtracted from the date of the Order, November 5, 2008, to reach a custody date of

May 29,2008.

         5   3.   [Citation to exhibit.] The custody date of May Zg, 20A8, is then used to calculate the

release date based on the inmate's sentence and any awarded good conduct credits. [Plaintiff s]

current projected outdate (or release date) is September       r8,zor4.
         54. The Illinois Department of Corrections has abused its discretion and disregarded
the authority of the circuit court. Because the circuit court has proved the order of 576 days

credit and the appellate court affirmed the decision of the circuit court. The defendants were

acting beyond the authority of the circuit court because they intentionally failed and refused

to honor the circuit court order.
1     t
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            55. This date was reached by taking fplaintiffs] custody date of May 29,z08i,adding his

    sentence less good conduct credits (seven years), and reaching a projected release date of May 29,

    2015. [Citation to exhibit.][Plaintiff] was previously awarded seven months and six days of earned

    good conduct credits.

            56.   The seven months and six days are subtracted from the projected release date of May

    29, 2015, to reach a new projected release date of October 23, 2A14. [Citation to exhibit.]                 See

    Attached hereto as Exhibit     (A" incorporated by reference I       of 24 stated as following.

                                                        COUNT     I
                  CAUSE OTACTION UNDER FEDERAL CIYIL RIGHTS ACT
                            FOR FALSE IMPRISONMENT
                  Against defendant Illinois Department o{"Correc$"d;"U its apparent agent Glenn Austin,


          TINDER TI{E FOURTEENTHAMENDMENT PUSUANT TO SECTION 1981
                    AND 1983 OF THE FEDERAL CTVIL RIGHTS ACT
            57. Perry   repeats, re-alleges, and incorporates herein by reference each of the allegations set forth

    in paragraphs I through 56 above as if set forth fully herein. In Haec Verba.

            58. Plaintiff, Burnyss Perry, by acting pro-se. complains of defendan! Illinois Department of

    Corrections, of the State of Illinois as follows:

            59. Defendant, IDOC, an entity organized and existing under the laws and statutes of Illinois, at

    all times material to this cause of action.

            60. Plaintiff, Burnyss Perry, an African       American ("Black") citizen of the United States of

    America, and reside in the village of Haruey, county of cook, Illinois.

            61. Defendant Glenn Austin, at all times material hereto was duly appointed to IDOC            as warden

    of IDOC and Austin was acting in his individual capacity and under color of state law within the scope

    of his employment.

            62. It was the right of plaintiff, Burnyss Perry as guaranteed by the Fourth Amendment to the

    Constitution of the United States, to be secure in his person against unreasonable seizure.

                                                           10
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        63. It was the right of plaintiff, Burnyss Perry, Guaranteed by Section 1981 of the Federal Civil

Rights Acts, to enjoy the firll and equal benefit of all laws for the security of his person as was enjoyed by

white citizens.

        64. At the times of the false imprisonment described above, it was the policy of defendant IDOC,

and custom and practice of the IDOC to subject Black person within defendan! IDOC boundaries to

seize Perry for the sole reason that such person was non-white and reshained falsity and refused to release

Perr), on his actual release date.

        65. Defendant, IDOC, and its apparent        agent, Glenn Austin wrongfirlly, inteationally,   willfirlly
and wantonly restrained     plaintiffand unlawfully held Perry beyond his actual release   date.

        66. Austin    as warden   of IDOC, and Austin was acting under color of state law at the time the acts

were corrmitted described above.

        67. Defendan! Austin, acted within the scope of his employment          as the warden   of IDOC, at the

time these acts were committed described above.

        68. Defendan! Austin, intentionally seized and falsely imprisoned plaintiffforthe sole reason that

plaintiff were non-white.

        69.    The seizure of plaintiff by defendant IDOC and its apparent agent, Austrn, warden was

unreasonable and in violation of plaintiffs rights under the Fourth Amendment and Section 1981 of the

Federal Civil Rights Act.

        70. Defendant, IDOC, and its warden Austin argues that plaintiffs September 18, 2014, release

date had been properly calculated.

        71. The department argued further that, were it to apply credit     as ordered by the sentencing court,

plaintiffs   release date would be later than September 18,2014,       following a June 2013 hearing, the trial

court entered a vrritten order, directing the department to "award" [plaintiff] 576 days of credit off his

calculated out date of September 18,20L4.

       72. As     a direct and proximate result of the   policy and conduct of defendant, the IDOC wrongfirlly


                                                          11
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imprisoned Perty and deprived Perry of his freedom and movement against his will, and suffered, and

continues to suff[er, mental anguish, public humiliation and diminished self-esteem.

        73. At all times material hereto this    cause of action, there was in force a federal law known as the

Federal Civil Righs Act42 USCA Section 1983, which confers upon plaintiffthe right to seek redress for

the above-described violation     ofplaintiffs rights under the Fourth Amendment Section          1981.

        WIIEREFORE, plaintitr, Bumyss Perry prays that this Honorable Court to:

        Enter ajudgment in favor of plaintiff and against defendants,Illinois Department of Corrections

and its apparent agent as warden, Austin:

        For an award of compensatory damages against each defendant in the amount of Three Million

Dollars ($3,000,000.00).

                                 COTINT II
               CAUSE OFACTION UNDER FEDERAL CIVIL RIGHTS ACT
                         FOR NALSE IMPRISONMENT
              Against defendant Illinois Department   of"CorrecffdJrd its apparent   agent Glenn Austin,

    UNDER THE FOURTEENTIIAMENDMENT PUSUANT TO SECTION 1981
            AND 1983 OF THE FEDERAL CTVIL RIGHTS ACT
        74.   Percy repeats, re-alleges, and incorporates herein by reference each of the allegations set forth

in paragraphs   1   through 54 above as if set forth fully herein. In Haec verba.

        75. Plaintiff, Burnyss Perry, by acting pro-se. complains of         defendant, Illinois Department       of
Corrections, of the State of Illinois as follows:

        76. Defendant, IDOC, an entity organized and existing under the laws and statutes of Illinois, at

all times material to this cause of action.

        77. Plaintiff, Burnyss Perry, an African          American ('oBlack") citizen of the United States of

America, and reside in the village of Harvey, county of cook, Illinois.

        78. DeGndant Glenn Austin, at all times material hereto was duly appointed to IDOC                 as warden

of IDOC, and Austin vpss s6ting in his individual capacity and under color of state law within the scope

of his employment.

                                                          t2
         Case: 1:15-cv-08905 Document #: 1 Filed: 10/07/15 Page 13 of 50 PageID #:13
         79. It was the right of plaintiff,
                                    Bumyss perry as guaf,anteed by the Fourth Amendment to the

Constifution of the United States, to be secure in his person against unreasonable seizures.

         80. It was the right of plaintiff, Burnyss Perry, Guaranteed by Section 1983 of the Federal Civil

Rights Acts, to eojoy the full and equal benefit of all laws for the securiry of his person as was enjoyed by

w'hite citizens.

         81. At the times of the false imprisonment described above, it   was the policy of defendant   IDOC,

and custom and practice of the IDOC to subject Black person to false imprisonment within defendant

II)OC boundaries to     seized the   plaintiff for the sole reason such person were non-white and unlawfully

restrained Perry falsity and refused to release him.

         82. Glenn Austin   as warden    of IDOC, and Austin was acting under color of state law at the time

the acts were cofilmitted described above.

         83. Defendant, Austin,   acted within the scope    of his employment   as the warden   of IDOC, at the

time these acts were committed described above.

         84. Defendant IDOC,         and its apparent agent, Glenn Austrn, as warden of IDOC, intentionally

seized   plaintiffand false imprisonment him for the sole reason that Perry was non-white.

         85. The seizure of plaintiff by defendant IDOC         and its apparent agent Austin, warden was

unreasonable and in violation of      plaintiffs rights under the Fourth Amendment and Section 1981 of the

Federal Civil Rights Act.

         86. Defendant, IDOC, and its apparent       agent, Glenn Austin wrongfutly, intentionally,    willfully
and wantonly restrained   plaintiffand unlawfirlly held perr),beyoad his actual release date.

         87.   Defendant, IDOC, and its apparent agent, Glenn Austin, as warden argues that plaintiffs

September 18,2A14 had been properly calculated.

         88. The department argued firther that, were it to apply credit as ordered by the sentencing court,

plaintiffs   release date would be later than September 18, 2014,    following a June 2013 hearing, the    tial
court entered a written order, dhsgting       the IDOC to "award" [plaiotiff]      576 days of credit off his


                                                       13
        Case: 1:15-cv-08905 Document #: 1 Filed: 10/07/15 Page 14 of 50 PageID #:14
calculated out date of September        18, 2014.

        89. As      a   direct and proximate result of the policy and conduct of defendant, the IDOC wrongfirlly

imprisoned Perry and deprived Pery of his freedom and movement against his will, and Perry suffered,

and continues to suffler mental anguish, public humiliation and diminished self-esteem.

        90. At all times material hereto this       cause of action, there rvas in force a federal law known as the

Federal Civil Rights Act42 USCA Section 1983, which confers upon plaintiffthe right to seek redress for

the above-described violation of plaintiffs rights under the Fourth Amendment Section 1981.

        WIIEREFORE, piaintiff, Burnyss Perr),prays that this Honorable Court to:

        Enter ajudgment in favor of plaintiffand against defendants,Illinois Department of Corrections

and its apparent agent as warden, Austin:

        For an award of compensatory damages against each defendant in the amount of Three Million

Dollars (S3,000,000.00).

                             COI.]NT III
     PENDENT CLAIM BASED ON TI{E LAWS OF ILUNOIS COMMON LAW
                     FOR EALSE IMPRISONMENT
              Against defendan{ fllinois Department    ouf   CorrecHH;"U its apparent   agent Glenn Austin,


SUFPLEMENTAL JURISDICTION PURSUANT TO 28 U.S.C.A. SECTION 1367(c)
        91. Pery        repeats, re-alleges, and incorporates herein by reference each of the allegations set forth

in paragraphs   1   through 54 above as if set forth fully herein. In Haec verba.

        92. Plainti$ Burnyss Perry, by acting pro-se. somplains of              defendant, Illin6is Department       of
Corrections, of the State of Illinois as follows:

        93. Defendan! IDOC, an entity organized and existiog under the laws and statutes of Illinois, at

all times material to this cause of action.

        94.   Plaintitr, Burnyss Perry, an African American (*Black") citizen of the United States of

America, and reside in the village of Harvey, county of cook, Illinois.

        95. Defendant Glenn Austin, at all times material hereto was duly appointed to IDOC                   as warden

of IIIOC, and Austin was acting in his individual capacrty and under color of state law within the scope
                                                               14
        Case: 1:15-cv-08905 Document #: 1 Filed: 10/07/15 Page 15 of 50 PageID #:15
of his employment.

        96. It was the right of plaintiff, Burnyss perry   as guaranteed by the Fourth Amendment to the

Constitution of the United States, to be secure in his person against unreasonable seizure.

        97. lt was the right of plaintiff, Burnyss Peny, of the Federal Civil Rights Acts, to enjoy the firll

and equal benefit of all laws for the security of his person as was enjoyed by white citizens.

        98. At the times of the false imprisonment described above, it was the policy of defendaot IDOC,

and custom and practice of the IDOC to subject Black person within defendant, IDOC boundaries to

seize Perry for the sole reason that such persorl was non-white and restrained falsity and refused to release

Perry on his actual release date.

        99. Defendant, IDOC, and its apparent agent, Glenn Austin wrongfirlly, intentionally, willfully

and wantonly restrained   plaintiffand unlawfully held Perry beyond his actual release date.

        100. Austin as warden of IDOC, aad Austin was acting uader color of state law at the time the

acts were committed described above.

        101. Defendant, Austin, acted within the scope of his employrrent as the warden of IDOC, at the

time these acts were committed described above.

        102. Defendant Austin, intentionally seized and falsely imprisoned plaintiff for the sole     reason

that plaintiff were non-white.

        103. The seizure of plaintiff by defendant IDOC and its apparent agen! Austin, warden was

uueasonable and in violation of plaintifPs rights under the Federal Civil Rights Act.

        104. Defendaat, II)OC, and its warden Austin axgues that plaintifPs September 18, 2}14,re1ease

date had been properly calculated.

       105. The deparknent argued further tha! were it to apply credit as ordered by the sentencing

cout! plaintiffs   release date would be later than September 18,   z}l{,fotlowing   a June 2013 hearing, the

trial court entered a written order, directing the deparhnent to "award" k{aintifq 576 days of credit off

his calculated out date of September 18, 2A1.4.


                                                     i5
        Case: 1:15-cv-08905 Document #: 1 Filed: 10/07/15 Page 16 of 50 PageID #:16
        106. As a direct and proximate result of the policy and conduct of defendant, the IDOC
wrongfully imprisoned Perry and deprived Perry of his freedom and movement against his will, and

suffered, and continues to suffer, mental anguish, public humiliation and diminished self-esteem.

        107. At all times material hereto this cause of action, there was in force a federal law known        as

the Federal Civil Rights, which confers upon plaintiff the right to seek redress for the above-described

violation of plaintiffs rights.

        WHEREFORE, plaintiff, Burnyss Perry prays that this Honorable Court to:

        Enter   a   judgment in favor of plaintiffand against defendants, filinois Dep*rtment of Corrections

and its apparent agent as warden, Austin:

        For an award of compensatory darnages against each defendant in            tle   amount of Three Million

Dollars ($3,000,000.00).

                                   COT]NT IV
                CAUSE OF ACTION UNDER FEDERAL CIWL RIGHTS ACT

           Against defendant Illinois Department of Corrections and its apparent agent Salvador Godinez,
                                             decision maker of IDOC
    UNDER TI{E FOURTEENTI{AMENDMENT PUSUANT TO SECTION 1981
             AND 19ffi qF THE FEDERAL CTVILRIGHTSACT
        108. Per$, repeats, re-alleges, and incorporates herein by reference each of the allegations         set

forth in paragraphs I through 54 above as if set forth firlly herein. I+ Haec Verba.

        109. Plaintitr, Burnyss Perry, by acting pro-se. complains of defendan! Illinois Department of

Corrections, of the State of Illinois as follows:

        110. Defendan! IDOC, an entity organizsd and existing under the laws and statutes of Illinois, at

all times material to this cause of action.

        111. Plaintifi Burnyss Perry, an African American ("Black") citizen of the United States of

Americ4 and reside in the village of Harvey, county of cook, Illinois.

        112. Defendant Salvador Godinez, at all times material hereto was duly appointed to IDOC              as

decision maker of IDOC, and Godinez was acting in his individual capacity and under coior of state law


                                                        t6
        Case: 1:15-cv-08905 Document #: 1 Filed: 10/07/15 Page 17 of 50 PageID #:17
within the scope of his employment.

        ll3. It was the right of plainti$ Burnyss Perry as guaranteed by the Fourth Amendment to the
Constitution of the United States, to be secure in his person against unreasonable seizures.

        114. It was the right of plaintiff, Bumyss Perry, Guaranteed by Section 1983 of the Federal Civil

Rights Acts, to enjoy the firll and equal benefit of aI1 laws for the security of his person as was enjoyed by

white citizens.

        115. At the times of the false imprisonment described above, it was the policy of defendant

IDOC, and custom and practice of the IDOC to subject Black person to false imprisonment within

defendant IDOC boundaries to seized the plaintiff for the sole reason such person were non-white and

unlawfirlly reskained Pe.ry falsity and refused to release him.

        116. Salvador Godinez as decision maker of IDOC, and Godinez was acting under color of           state

law at the time the acts were conrmitted described above.

        117. Defendant, Salvador Godinez, acted within the scope of his employment as decision maker

of   rDoc,   at the time these acts were committed described above.

        118. Defendant, IDOC, and its apparent agent, Salvador Godinez as decision maker of IDOC,

intentionally seized plaintiffand false imprisonment him for the sole reason that Perry was non-white.

        119. The seizure of plaintiffby defendant IDOC and its apparent agent Godinez, decision maker,

\ryas unreasonable and   in violatioa of plaintiffs rights under the Fourth Amendment and Section 1981 of

the Federal Civil Rights Act.

        120. Defendant, IDOC, and its apparent agen! Salvador Godinez         as decision maker   wrongfirlly,

intentionally, willfully and wantonly restrained plaintiff and unlawfully held Perq, beyond his         actua1

release date.

        I21.    Defendant, IDOC, and its apparent agent, Salvador Godinez as decision maker argues that.

plaintifiPs September 18,2014 had been properly calculated.

        122. The deparhent argued fi,rther tha! were it to apply credit as ordered by the sentencing


                                                      t7
       Case: 1:15-cv-08905 Document #: 1 Filed: 10/07/15 Page 18 of 50 PageID #:18
coult plaintiffs release date would be later than September 18,2A14, following a June 2013 hearing, the

trial court entered a written ordeq direeting the IDOC to "award" blaintiffl 576 days of credit off his

calculated out date of September 18, 2014.

        723. As a direct and proximate result of the policy and conduct of                    defendant, the IDOC

wrongfrrlly imprisoned Perry and deprived Perry of his freedom and movement against his will, and Perry

suffered, and continues to suffer mental anguish, public humiliation and diminished self-esteem.

        124. At all times material hereto this cause of action, there was in force a federal law known as

the Federal Civil Rights Act42 USCA Section 1983, which confers upon plaintitrthe right to seek redress

for the above-described violation of plaintiffs rights under the Fourth Amendment Section 1981.

        WHEREFORE, plaintiff, Burnyss Perry prays that this Honorable Court to:

        Enter ajudgment in favor of plaintiffand against defendants,Illinois Department of Corrections

and its apparent agent, Salvador Godinez as decision maker:

        For an award of compensatory damages against each defendant in the amount of Three Million

Dollars ($3,000,000.00).

                                COT]NT Y
              CAUSE OFACTION UNDER FEDERAL CTWL RIGHTS ACT
                        FOR EALSE IMPRISOI\MENT
           Against defendant Illinois Department of Corrections and its apparent agent Salvador Godinez,
                                             decision maker of IDOC
        UNDER THE FOTIRTEENTHAMEI\DMENT PUSUANT TO SECTION
                 1983 OF TIIE TEDERAL CTWL RIGIITS ACT

        125. Perry repeats, re-alleges, and incorporates herein by reference each of the allegations             set

forth in paragraphs I through 54 above as if set forth fully herein. In Haec Verba-

        126- Plaintifi Bumyss Perry, by acting pro-se. complains of defendant, Illinois Department of

Corrections, of the State of Illinois as follows:

        127. Defendant, IDOC, an entity organized and existing under the laws and statutes of Illinois, at

all times material to this cause of action.

        128" Plaintifl Burnyss Perry, an African American ("Black")              c:rt:z:en   of the United States of

                                                        18
        Case: 1:15-cv-08905 Document #: 1 Filed: 10/07/15 Page 19 of 50 PageID #:19
America, and reside in the Village of Harvey, County of Cook, Illinois.

        129. Defendant Salvador Godinez, at all times material hereto was duly appointed to IDOC          as

decision maker of IDOC, and Godinez was acting in his individual capacrty and under color of state law

within the scope of his employment.

        130. It was the right of plaintifi Burnyss perr),as    guaranteed by the Fourth Amendment to the

Constitution of the United States, to be secure in his person against unreasonable seizures.

        131. It was the right of plaintiff, Bumyss Perry, Guaranteed by Section 1983 of the Federal Civil

Rights Acts, to enjoy the full and equal benefit of all laws for the security of his person as was erfoyed by

white citizens-

        132. At the times of the false imprisonment described above, it was the policy of defendant

DOC,     and custom and practice     of the IDOC to subject Black person to false imprisonment within
defendant IDOC boundaries to seized the plaintiff for the sole reason such person were non-white and

unlawfully reshained Perry falsity and refused to release him.

        133. Salvador Godinez     as decision maker   of IDOC, and Godinez was acting under color of state

law at the time the acts were committed described above.

        734. Defendanq Salvador Godinez, acted within the scope of his employment as decision maker

of   rDoc,   at the time these acts were committed described above.

        135. Defendant, IDOC, and its apparent agent, Salvador Godinez as decision maker of IDOC,

intentionally seized plaintiffand false imprisonment him for the sole reason that Perry was non-white.

        136. The seizure of plaintiffby defendant IDOC and its apparent agent, Godinez, decision maker

was umeasonable and in violation of plaintiffs rights under the Fourth Amendment and Section 1981         of
the Federal Civil Rights Act.

        137. Defendant, IDOC, and its apparent agen! Salvador Godinez as decision maker wrongfully,

intentionally, willfirlly and wantonly restuained plaintiff and unlawfully held Perry beyond his actual

release date.


                                                       19
        Case: 1:15-cv-08905 Document #: 1 Filed: 10/07/15 Page 20 of 50 PageID #:20
        138. Defendant, IDOC, and its apparent agent, Salvador Godinez as decision maker argues that

plaintiff   s September | 8, 201 4 had been properly calculated.

        139. The departrnent argued further that, were it to apply credit as ordered by the sentencing

court, plaintiffs release date would be later than September 18, 2014, following a June 2013 hearing, the

trial court entered a written order, directing the IDOC to "award" tplaintifil 576 days of credit off his

calculated out date of September 18, 2014.

        140. As a direct and proximate result of the policy and conduct of                    defendant, the IDOC

wrongfrrlly imprisoned Perry and deprived Perry of his freedom and movement against his will, and Perry

suffered, and continues to suffer mental anguish, public humiliation and diminished self-esteem.

        141. At all times material hereto this cause of action, there was in force a federal law known         as

the Federal Civil Rights Act42 USCA Section 1983, which confers upon plaintiffthe rightto seek redress

for the above-described violation of plaintiff      s   rights under the Fourth Amendment Section 1983.

        WHEREFORE, plaintifi Burnyss Perr),prays that this Honorable Court to:

        Enter   a   judgment in favor of plaintiffand against defendants, Illinois Department of Corrections

and its apparent agent, Salvador Godinez as decision maker:

        For an award of compensatory damages against each defendant in the amount of Three Million

Dollars ($3,000,000.00).

                                   COT]NT VI
                CAUSE OTACTION T]NDER FEDERAL CTWL RIGITTS ACT
                          FOR EALSE IMPRISOIIMENT
                Against defendant Illinois   ,"rT:ffi,""ff;ITJBl;A*       its apparent agent Rita Rossi,

    TJNDER TI{r FOT]RTEENTIIAMENDMENT PUSUANT TO SECTION 1981
              A}[D 1983 OF THE FEDERAL CTWLRIGHTSACT
        142. Perry repeats, re-alleges, and incorporates herein by reference each of the allegations          set

forth in paragraphs     1   through 56 above as if set forth fully herein. In Haec Verba.

        143. Plaintitr, Burnyss Perry, by acting pro-se. comptains of defendan! Illinois Department of

Corrections, of the State of Illinois as follows:
        Case: 1:15-cv-08905 Document #: 1 Filed: 10/07/15 Page 21 of 50 PageID #:21
        144. Defendant, IDOC, an entity organized and existing under the laws and statutes of Illinois, at

all times material to this cause of action.

        145. Plaintifi Burnyss Perry, an African American ("Black") citizen of the United States of

America, and reside inthe Village of Harvey, County of Cook, Illinois.

        146. Defendant Rita Rossi, at all times material hereto was duly appointed to IDOC as decision

maker of IDOC, and Rossi was acting in his individual capacity and under color of state law within the

scope of his employment.

        147. It was the right of plaintitr, Burnyss perry   as guamileed by the Fourth Amendment to the

Constitution of the United States, to be secure in his person against unreasonable seizure.

        148. It was the right of plaintiff, Burnyss Perry, guaranteed by Section 1981 of the Federal Civil

Rights Acts, to enjoy the frrll and equal benefit of all laws for the security of his person as was enjoyed by

white citizens.

        149. At the times of the false imprisonment described above, it was the policy of defendant

IDOC, and custom and practice of the IDOC to subject Black person within defendant, IDOC boundaries

to seize Perr), for the sole reason that such person was non-white and resfrained falsity and refused to

release Perr), on his acfual release date.

        150. Defendan! IDOC, and its apparent agent, Rita Rossi as decision maker, wrongfully,
intentionally, willfully and wantonly restained plaintiff and unlawfully held Perr), beyond his actual

release date.

        151. Rossi   as decision maker   of IDOC, and Rossi was acting under color of state law at the time

the acts were committed described above.

        152. Defendant Rossi, acted within the scope of her employment       as decision maker   of IDOC, at

the time these acts were commiued described above.

        154. Defendant, Rossi, intentionally seized and falsely imprisoned plaintitr for the sole reason

that plaintiff were non-white.


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        Case: 1:15-cv-08905 Document #: 1 Filed: 10/07/15 Page 22 of 50 PageID #:22
        155. The seizure of plaintiffby defendant IDOC and its apparent agent, Rossi, decision maker

was unreasonable and in violation of plaintiffs rights under the Fourth Amendment and Section 1981                  of
the Federal Civil Rights Act.

        156. Defendan! IDOC, and its decision maker, Rossi, ffgues that plaintiffs September 18, 2014,

release date had been properly calculated.

        157. The deparhnent argued firther that, were it to apply credit as ordered by the                 sentencing

cour! plaintiffs release date would be later than September 18, z}l4,following a June 2013 hearing, the

trial court entered a written order, directing the departnent to "award" k           lahtifl 576 days of credit off
his calculated out date of September 18, ZAl4.

        158. As a direct and proximate result of the policy               and conduct     of defendan! the IDOC
wrongflrlly imprisoned Perry and deprived Perry of his freedom and movement against his will, and

suffered, and continues to sufFer, mental angursh, public humiliation and diminished self-esteem.

        159. At all times material hereto this cause of action, there was in force a Heral law known                as

the Federal Civil Rights Act 42 USCA Section 1983, which confers upon              plainffithe right to seek   redress

for the above-described violation of plaintiffs rights under the Fourttr Amendment Section 1981.

       WIIEREFORE, plaintiff, Bunryss Perr), prays that this Honorable Court to:

       Enter   a   judgment in favor of plaintiffand against defendants,Illinois Department of Corrections

and its apparent agent as decision maker, Rossi:

       For an award of compensatory damages against each defendant in the amount of Three Million

Dollars ($3,000,000.00).

                                  COT]NT \rII
               CAUSE OFACTION T]IIDER FEDERAL CTWL RIGITTS ACT
                         FOR EALSE IMPRISONMENT
               Against defendant fllinois I)epartment of Corrections and its apllarent agent Rita Rossi,
                                               decision maker of IDOC
       T]I\DER TIIE FOT]RTEENTHAMENDMENT PUSUANT TO SECTION
                      19$ Or TIIE FEDERAL CTWL,RIGITTS ACT
       160. Perr)'repeats, re-alleges, and incorporates herein by reference each ofthe allegations                 set

forth in paragraphs I through 54 above as if set forth fully herein. In Haec Verba.
                                                          22
        Case: 1:15-cv-08905 Document #: 1 Filed: 10/07/15 Page 23 of 50 PageID #:23
        161. Plaintiff, Burnyss Perry, by actingpro-se, complains of defendant, Illinois Department of

Corrections, of the State of Illinois as follows:

        162. Defendant, IDOC, an entity organized and existing under the laws and statutes of Illinois, at

all times material to this cause of action.

        163. Plaintiff, Burnyss Perry, an African American (*Black") citizen of the United States of

Americ4 and reside in the village of Harvey, county of coolg Illinois.

        164. Defendant Rita Rossi, at all times material hereto was duly appointed to IDOC as decision

maker of IDOC, and Austin was acting in his individual capacity and under color of state law within the

scope of his employment.

        165. It was the right of plaintifi Btrnyss Perry as guaranteed by the Fourth Amendment to the

Constitution of the United States, to be seoure in his person against unreasonable seizures.

        166. It *'as   t.he   right of plaintiff, Burnyss Perry, Guaranteed by Section 1983 of the Federal Civil

Rights Acts, to enjoy the flrll and equal benefit of all laws for the security of his person as was enjoyed by

white citizens.

        167. At the times of the false imprisonment described above, it was the policy of defendant

IDOC, and custom and practice of the IDOC to subject Black person to false imprisonment within

defendant IDOC boundaries to seized the plaintiff for the sole reason such person were non-white and

unlawfully restained Perry falsity and refused to release him.

        168. Rita Rossi as decision maker of IDOC, and Austin was acting under color of state law at the

time the acts were committed described above.

        169. Defendant, Rossi, acted within the scope of his employment as decision maker of IDOC, at

the time these acts were committed described above.

        170.      Defendant, IDOC, and its apparent agenf Rita Rossi, as decision maker              of IDOC,
intentionally seized plaintiffaad false imprisonment him for the sole reason that Perry was non-white.

        l7l.   The seizure of plaintiff by defendant IDOC and its apparent agent Aust'rn, warden was
        Case: 1:15-cv-08905 Document #: 1 Filed: 10/07/15 Page 24 of 50 PageID #:24
uffeasonable and in violation of plaintifPs rights under the Fourdr Amendment and Section 1981 of the

Federal Civil Rights Act.

        172.        Defendant, IDOC, and     its   apparent agent, Rita Rossi, decision maker, wongfirlly,

intentionally, wiilfully and wantonly restrained plaintiff and unlawfully held Perry beyond his actual

release date.

        173.        Defendant, IDOC, and    its apparent agent, Rita Rossi, as decision maker argues that
plaintiff   s September 18, 2014 had been properly calculated.

        174. The department argued fuither that, were it to apply credit as ordered by the sentencing

coutt, plaintifPs release date would be later than September 18, 2014, following a June 2013 hearing, the

trial court entered a written order, directing the IDOC to "award" [plaintiffJ 576 days of credit off his

calculated out date of September 18, 2014.

        175. As a direct and proximate result of the policy and conduct of defendan! the IDOC
wrongfully imprisoned Perry and deprived Perry of his freedom and movement against his will, and Perry

suffered, and continues to suffer mental anguish, public humiliation and diminished self-esteem.

        176. At all times material hereto this cause of action, there was in force a federal law known as

the Federal Civil Rights Act 42 USCA Section 1983, which confers upon plaintiffthe right to seek redress

for the above-described violation of plaintiffs rights under the Fourth Amendment Section 1981.

        WHEREFORE, plaintiff, Burnyss Perry prays that this Honomble Court to:

        Enter   a   judgment in favor of plaintiff and against defendants, Illinois Department of Corrections

and its apparent agen! Rossi, as decision maker:

        For an award of compensatory damages against each defendant in the amount of Three Million

Dollars ($3,000,000.00).




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                                                      couNT \IIII
                PENDING CLAIM UNDER ILLINOIS COMMON LAW
             FOR INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
This claim against all defendants, Illinois Department of Coreetions, Salvador Godinez, Glenn Austin, Rita Rossi

              SUPPLEMENTAL JURISDICTION OYf,R STHTE LAW CLAIM
                     PURSUANT TO 28 U.S.C.A. Section I36T(c)

          177. Platrrtiffrepeats, re-alleges and incoryorates by reference each of the allegations set forth in

paragraph 1 through 54 above as      if   set forth   fully herein. rn Haec verba.

          178. Illinois law recognizes a cause of action for intentional infliction of emotional distress which

make unlaw-fuI certain extreme and outrageous conduct that results                   in   severe emotional distress,

defendants acted with actual "malice and evil intent" to damage Perry. Defendants' wrongful acts cause

emotional distress upon Perry.

          179. Defendants, Illinois Department of Corrections, by action of its appment agents, Salvador

Godinez, Glenn Austin, and Rita Rossi were aware that the malicious and intentional act of defendants

wongfully incarcerated Perry. Defendants wrongful acts caused Perry flnancial hardship and                     severe

emotional distress.

          180. Defendants   caused   plaintiff extreme and outrageous conduct, including, but not limited to

the acts, intentionally cause mental and emotional distress. Plaintitr suffered embmrassmen! hlmiliation

as   well as severe headaches.

         181. Defendant's conduct was extreme aad oukageous, that defendants either intended that their

conduct inflict severe emotional distress or knew there was a high probability that their conduct would

cause severe emotional distress, and that defendant's conduct in fact caused severe emotional disfress.

         182. Defendant's acts was so outrageous and their actions was intentional with malice hate                and

intent to damage Perry with affirmative, conscious, disregard of specific consequeaces which are certain

to injure Perry.

         183.   Defendants, Salvador Godinez, Glenn Austin, and                Rita Rossi conduct show to          be

motivated by evil intent, or     it involves      reckless   or callous indifference to Perry's protected     rights.
      Case:   1:15-cv-08905
                    that theirDocument  #: 1 Filed: 10/07/15 Page 26 of 50 PageID #:26
Defendants intended            conduct inflict severe emotional distress or knew there was                a high
probability that their conduct would cause severe emotional distress, and that defendants' conduct in fact

caused severe emotional distress.

        184. Perry sustained severe emotional distress and he become highly nervous and was forced to

seek additional medical attention to relieve constant and severe headaches, loss of appetite;

        185. And loss of sleep as result of defendants caused false imprisonment upon plaintiff. Tactics

contained allegations of substantial emotional harm.

        186. Defendants conduct will be found extreme and outrageous. It goes "beyond all possible

bounds of decency" and plaintiffdistress will be found severe      if "no reasonable person could be expected

to endure it."

                                                 CONCLUSION

        WIIEREFORE' plaintiff, Burnyss Perry, prays that this Honorable Court to:

        A.       Enter an order for an award of compensatory damages to compensate Perry for his lost

wages, other economic damages,            md emotional pain and suftering in      amount   of Five Ilundred
Thousand Dollars ($500,000.00) against each defendant.

        B.       Enter   a   judgment for prinitive damages in the amount of Five Hundred Thousand Dollars

($500,000.00) against Salvador Godinez jointly and severally with Glenn Austin, and Rita Rossi.

        WHEREFORE, plaintitr, Bumyss Perry prays that this Honorable Court enter an order granting

plaintiffs complaint     and any other relief this court deems equitable and proper

                                                                               Resaectfullv submitted-

                                                                     'F        Burnyss Perry
                                                                               PlainfiffActing pro   se
Burnyss PerrA
l5"l l=€>, L-rr*e-e?
Harvey,Illinois 6A624
(504) 758-sr64




                                                        26
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                       NOTICE                        20t3IL App (ath) 130488-U
         This order wasTlEi-Tunder Suprcme
                                                                                                       F.ILED
         Court Rule 23 and may not bc cited as                                                       October 8,2073
         precedent by any party exccpt in the              NO.4-13-0488                               Carla Bender
         iimitcd circumstances allowed under
         Rulc 23(e)(1).
                                                                                               4th   District Appellate
                                                   IN THE APPELLATE COURT                               Court,IL

                                                              OF ILLINOIS

                                                        FOURTH DISTRICT

     BURNYSS PERRY,                                                                     Appeal from
               Plaintiff-Appellee,                                                      Circuit Court of
                             V.                                                         Morgan County
     SALVADOR GODINEZ, GLENN AUSTIN, and                                                No. 12MR115
     RITA ROSSI,
                             De   fendants-Appellants.                                  Honorable
                                                                                        Christopher E. Reif,
                                                                                        Judge Presiding.



                           PRESIDING JUSTICE STEIGMANN delivered the judgment of the court.
                           Justices Appleton and Turner concurred in the judgment.


                                                                ORDER

   '1T   1      Held:      The appellate court affirmed the trial court's order ganting plaintiffs writ
                           of mandamus.

   11 2                    ln December 2012, plaintiff, Bumyss Perry, an inmate in the custody of the

{6 I[inois       Department of Corrections, filed             pro sepetition for writ of mandamrzs
                                                          a                                            pursuant to


't$ article 14 of the Code of Civil              Procedure (Code) (735   ILCS   5ll4-tllto   t4-109 (West      Z0l2))*
   Plaintiff sought to compel
                                             tt"qtrJet        ad"r G"dir"r, Gt.nn Austin,    an?nit@
   (collectively, the Department) to credit his sentenc e 576 days pursuant to the terms of his

   negotiated guilty plea agreement.

   fl 3                    The Department filed a motion for summaryjudgment pursuant to section 2-1005

   of the code (735 ILCS 5/2-1005 (West 2}l2)),arguing that plaintiffs September 1g,                         2014fr
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 release date had been properly calculated. The Department argued further that, were     it to apply

 the credit as ordered by the sentencing court, plaintiffs release date would be later than

 September 18,20t4. Fotlowing a June 2013 hearing, the trial court entered a written order,

 directing the Department to "award [plaintiff] 576 days of credit off his calculated out date of

 September 18,2014."

n4              The Department appealed, and we granted the Department's motion for an

emergency stay of the trial court's order and agreed to accelerate our consideration of this appeal.

Because we conclude that the Department had a clear, nondiscretionary duty to give effect to the

sentencing court's order that plaintiff be awarded 576 days of credit, we affirm the trial court's

judgment granting plaintiffs petition for writ of mandamus.

tT s                                    I.   BACKGROLIND

fl6             The controversy in this case arises from the Department's calculation of plaintiffs

total term of confinement, which was complicated by the trial court's imposition of an additional

term of confinement while plaintiff was already serving nine concurrent prison terms. The

additional term was ordered to run consecutively to plaintiffs existing concurrent terms, with 576

days of credit applied. To understand how the Department reached its conclusion as to         plaintiffs

September 18,2014, projected release date, we review the facts in detail. However, because the

record in this mandamus action does not include the records from plaintiffs 10 underlying

criminal cases, our review of the facts that led to plaintiffs convictions is limited.

n7                                           A. 2005 Cases

'lT 8          Prior to November 5, 2008, defendant pleaded guilty to nine counts of theft (720

LCS 5/16-1(a)(1) (West 2004)) (Cook County case Nos. 05-CR-2600601, 05-CR-2600701, 05-

                                                      .|
                                                 -L
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     cR-2600801, 05-CR-2600901, 05-CR-2601001, 05-CR-2601101, 05-CR-260120t,05-CR-

     260130    l,   and 05-CR -2601 401).


    fle                 on November 5, 2008,         a Cook   county trial court sentenced plaintiff to seven

    years'imprisonment on each of the nine separate cdnvictions. The court ordered the nine

    sentences to run concurrently, for a total term of seven ye4rs, and awarded            plaintiff 156 days of

    credit for time served between his arrest and sentencing.

    1T 10                                    B.   Case No. 08-CR-2252801


    'lT   1l            On December 15, 2008, the State filed a 24-countinformation against plaintiff

    (Cook County case No. 08-CR-2252801) for various criminal offenses arising from a mortgage

*   Aaua scheme he allegedly perpggglgd between November 2007 and.February 2008-a period                        of
    time during which he was released on bond in his earlier nine cases.




    count of theft pursuant to a fully negotiated guilty plea. In exchange for his guilty plea, the
                                                                                                            Eg.
    dismissed the remaining charges and recommended a sentence of seven years'imprisonment.

    P,*r"*t t" tr. t"*r        .
    to seven years'imprisonment and awarded him 576 days of sentencing credit. That sentence was

    to run consecutively to plaintiffs nine existing concurrent sentences. With regard to the 576 days

    of credit, the court's sentencing order stated as follows:

                        "The Court finds that the defendant is entitled to receive credit for

                        time actually served in custody for a total credit of 0576 days as of

                        the date of this order[.]"

    '1T   13          C. The Department's Execution of the July 14,2010,          Sentencing Order
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tT 14           On July 19,2010, the Department issued plaintiff a new sentence calculation sheet

that reflected the addition of the seven-year consecutive sentence term in case No. 08-CR-

 225280L but did not reflect the 576days of sentencing credit the trial court awarded.


fl1s            On August 9,2010, plaintiff filed a formal grievance with the Department "for the

Court[-]ordered 576[-]day Jail Credit." The following day, plaintiffs prison counselor denied the

grievance and returned it to plaintiff with a notation stating the following:

                        "The sentencing order does not state to aggregate yourjail

                credits (576, 156 days). In order for them to be combined you'll

                need a corrected [sentencing order] stating such. The Records

                Office should be contacted by you via request slips if you have

                further concerns."

'1T   16        Plaintiff advanced his grievance through several steps of administrative review

that need not be detailed for purposes of this appeal. On Decemb er 1,2010, the Department's

Administrative Review Board issued plaintiff a response, which read, in pertinent part,   as

follows:

                "Per the offender's [sentencing order] the judge did not order the

               jail credits ofthe consecutive   cases to be aggregated, therefore, the

                sentence calculation has been done correctly."


\ l1           On December 21,2010, plaintiff filed a motion to amend the sentencing order

with the cook county trial court, alleging, in pertinent part, the following:

                       "2. That his Honorable Court granted [plaintiffj 576 days

               credit for time actually served in custody.


                                                 -4-
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                         *x<   *

                         4. That [plaintiff],              {<xd<
                                                                   was informed by the [Department's]

               Record Officer that the 576 days credit granted to [plaintiff] by this

               court cannot be honored, and will not be calculated within the

               sentence calculation sheet, unless this court specifically makes

               mention of the credit to be aggregated with the consecutive

               sentence. (See attached Administrative Review Board answer to

               [plaintiff s] grievance        [.   ]   )

                         5. That [plaintiffl respectfully request[s] of this Honorable

               Court to issue a statement within the [sentencing order] that the

               576 days credit is to be aggregated with [plaintiffs] consecutive

               sentence, in[]order for [the Illinois Department of corrections] to

               credit fplaintiff] for all time served in custody, as ordered by this

               court."

1T   18        On January          ll,   2011, in response to            plaintiffs motion, the sentencing court issued

an amended sentencing order that stated, in pertinent part, as follows:


                         "The Court finds that [plaintiff] is entitled to receive credit

               for time actually served in custody for a total credit of 0576 days                    as


               of the date of this order[.]

                                                               **x
                         It is further ordered that also consecutive with [Nos.]

               05[-]CR[-]2601001 thru 05[-]CR[-]26016 credit in aggregate nunc


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                pro tunc from 7-14-2010[.]"

lT le           The Department received the amended sentencing order but did not change

plaintiffs projected release date. Later in January, plaintiff asked defendant Rossi, the records

office adminiskator of the Jacksonville Correctional Center, to change his calculation sheet to

reflect the amended sentencing order. According to plaintiff         s mandamus      petition, Rossi told

plaintiff in person in the records office that "the Judge can't do this!"

\t   20         Plaintiff made additional requests within the Department to have his projected

release date changed to reflect the   57   6 days credit. In a February   17   , 20ll , letter to Gina Allen of
the Office of lnmate Issues, plaintiff stated the following:

                         "My problem now is, the Court corrected the [sentencing

               order], reflecting [the Department's] policy, ordering the custody

               credit to be aggregated. However, Rita Rossi within Jacksonville

               [correctional center] Record[s] office refuse[d] to honor the

               court's order. Ms. Rossi called me over to the Record[s] office,

               and told me personally that the new coun[-]ordered
                                                                  [sentencing

               order] has no impact on her decision-that "the judge cannot do

               this."

n    2l        Plaintiff sent another letter to Allen    a   week later, attaching the amended

sentencing order. A stamp on that letter indicates that the Office of Lrmate Issues received the

letter on March t,2011. A handwritten notation on the leffer states, as follows:

                        "This offrce cannot assist w[ith] this. The judge must make

               a   ruling and send corrected/ammendments [sic] to the parent


                                                    -6
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                facility."

q?)                          D. Plaintiffs Petition for Writ of Mandamus

n23             ln December 2012, plaintiff filed the instant petition for writ of mandamus in

which he sought "to compel the fDepartment] to comply with the
                                                               ftrial court's] order and subtract

576 days from the   Plaintiffs calculation sheet."

n24             [n February 20L3, the Department filed (1) a motion for summary judgment, (2) a

memorandum of law in support of the motion, and (3) an affidavit completed by defendant Rossi
    \.-.J,.

describing the calculations used by the Department to reach plaintiffs projected release date    of
September 18,2014.

n25             In her affidavit, defendant Rossi explained the following calculations the

Department used to reach plaintiffs projected release date. Because the Department's elaborate

calculations are central to this appeal, we set them forth in full, as follows:

                        "4. [Plaintiff] was sentenced to seven years['] incarceration

                for each of his cases [(Nos. 05-CR-2600601 through 05-CR-

                2601401)1. The sentences were concurrent to one another for a

               total sentence of seven years. [Citation to exhibit.]

                        5. [Plaintiff] was sentenced to an additional seven years

               incarceration in case [No.] 0t8l-CR-2252901. The sentence was

               consecutive to [plaintiffs] sentences in fcase Nos. 05-cR-2600601

               through 05-CR-26014011. [Citation to exhibit.]

                        6. Thus, [plaintiff]   has   two seven-year sentences for   a   total

               of fourteen years; however, he receives day-for-day credit, making
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          his length of incarceration 7 years total. [Citation to exhibit.]

                  7. [n order to calculate       an inmate's custody date, the

          Records Office looks at the date of the Order of Commitment and

          Sentence and any awarded          jail credits.

                  8. In this     case,   fplaintiffs] Orders of Commitment and

          Sentence for his cases 05-CR-2600601 through case 05-CR-

          2601401were dated November 5, 2008, and awarded him 156 days

          of custody credit.

                  9. Thus, his custody credit of five months        and six days

          (156 days divided by 30 days per month) was subtracted from the

          date of the Order, November 5, 2008, to reach a custody date           of
          May 29,2008. [Citation to exhibit.]

                  10. The custody date of May 29,2008, is then used to

          calculate the release date based on the inmate's sentence and any

          awarded good conduct credits.

                  1   1.   [Plaintiffs] current projected outdate (or release date) is

          September 1,8,2014. This date was reached by taking [plaintiffs]

          custody date of May 29,2008, adding his sentence less good

          conduct credits (seven years), and reaching a projected release date

         of May   29   , Z0l5 . [Citation to exhibit. ]

                  12. [Plaintiff] was previously awarded seven months and

          six days of earned good conduct credits. The seven months and six


                                                 -8-
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          days are subtracted from the projected release date of May 29,

          2015, to reach a new projected release date of October23,ZOl4.

          [Citation to exhibit.]

                  13. Lastly, [plaintiff] was later awarded an additional one

          month and five days of earned good conduct credits. Therefore,

          the one month and five days are subtracted from the projected

          release date of October 23,2014, to reach his current projected

          release date of September 18,2014.

                  14. This is [plaintiffs] current projected release date. As

          shown in the calculation, the 156 days        ofjail credits have been

          used to determine the custody date.

                  15.   [Plaintiff] was also awarded 576 days ofjail credits in

          case 08-CR-2252801from the date of            July 14,2010, in aggregate

          to the 156 days of credit issued in the other cases. [Citation to

          amended sentencing order.] In other words, the Order indicated


          [plaintiff] should receive   a   total of 732 days ofjail credit for time

          in custody up to July 14,2010.

                  16. If this order is followed, [plaintiffs] calculation will

         result in a release date later than his previous release date. The

         calculation would be completed, as follows:

                           a. Per the Order, [plaintiffl would receive

                 credit for 732 days ofjail credit (156 plus 576) from


                                               -9   -
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                 the date of July T4,2010. 732 days ofjail credits

                 equals two years and 12 days of credit (732 divided

                 by 360 days per year).

                          b.    Subtracting two years and 12 days from

                 July 14, 2010, equals       a custody date   of July 2,2008.

                          c. The remainder of the calculation would

                 follow   as   in paragraphs 11-13 wherein [plaintiffl

                would have       a   projected release date of July 2,2015.

                 [Plaintiff] would then be awarded a total of       8


                months and 11 days of earned good conduct credits.

                Those credits would be subtracted from his

                projected release date of July 2,2OI5,to reach a

                projected release date.

                          d. As the projected     release date prior to

                earned good conduct credits in this calculation (July

                2,2015) is later than the projected release date prior

                to earned good conduct credits in [plaintiffs]

                current calculation (May 29,2015), [plaintiffs] final

                release date would also be later once the earned

                good conduct credits are factored in.

                17. Thus, [plaintiff] is benefitted by using the calculation

         currently in place and only awarding him 156 days ofjail credit


                                               10-
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               from the date of November 5, 2008.

                       18. The reason [plaintiff] is not benefitted by awarding him

               the additional5T6 days   ofjail credits is because he is receiving

               day-for-day credit for the time served since May 29,2009.

                       19. Therefore fplaintiffls] sentence calculation, while not

               taking into account the 576 days ofjail credits, is correct and gives

               him the soonest possible release date.

                       20. To calculate [plaintiffs]   sentence as he has requested

               would result in a later release date and does not benefit [plaintiff]."

1l   26        Defendant filed a memorandum of law in response to the Department's motion for

summaryiudgment in which he argued, in pertinent part, as follows:

                       "The very nature of the Jail Credit is to remove time from a

               sentence. *'ri< The Defendant, Rita Rossi, has improperly usurped

               the authority of the Judge by refusing to execute the court's order

               in the manner which it was intended. Thereby imposing the

               Defendant's will indifferent to the jurisdiction of the court. This

              makes the Mandamus essential. [Rossi] has determined that her

              interpretation of the calculation process is beyond the Judge's

              jurisdiction. [Rossi] dismissed the Judge's order and has applied

              the Jail Credit in an improper manner.

                      The [Department's] error in calculating the plaintiffs

              sentence is using a custody date   of7lt4l10. The correct custody

                                               - 11-
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                  date that should have been used to calculate the    Plaintiffs sentence

                  is lll5l2008 x**. It is clear from the plea agreement and the

                  Judge's intent of issuing an amended commitment order, per

                  request of Plaintiff, that the Plaintiff was to receive the benefit    of
                  having both Jail credits aggregated. This would only be possible

                 using the custody date    of lll5lo8.   To use a custody date   of
                  7ll4/10   as the Defendant does, usurps the clear   intention of the

                 court.     t**   The Jail credit was the crux of the plea agreement,

                 structured by the State['s] Attorney and the plaintiffs attorney."

                 (Emphasis in original.)

1l   27          In June 2013, the Department filed a supplemental memorandum of law in

support of its motion for summary judgment, attaching to it an affidavit completed by Julia A.

Bickle, the Department's assistant chief records officer. In the affidavit, Bickle went through the

same calculations as did defendant Rossi. Bickle further stated that the Department would

provide plaintiff with additional credit against his sentence if he provided "certified

documentation indicating the custody dates for which he was awarded time served.,'

fl28            E. The combined Hearing on the Department's Motion for Summary
                               Judgment and Plaintiff s Mandamus petition

11   29          At   a June 2013 combined hearing, defendant Rossi explained         plaintiffs

sentencing calculations consistent with the explanation she provided in her affidavit. Defendant

appeared   pro se. Counsel for the Department acknowledged that the amended sentencing order

awarded    plaintiff 576   days of credit for time served. However, the Department argued that the




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court's order did not make clear where the 576 days of credit came from. Because the supreme

court in People v. Latona,184I1l. 2d260,271-72,703 N.E.2d g0l,gO7 (1998), held that an

inmate cannot earn two sentence credits for a single day in custody, the Department asserted it

was   plaintiffs burden to demonstrate that the 576 days of credit for time served awarded in   case

No. 08-CR-2252801did not come from days in which he was eaming day-for-day credit (and

serving sentence) while in custody on case Nos. 05-CR-2600601through 05-CR-2601401.

fl30            The trial court, defendant Rossi, and counsel for the Department engaged in the

following discussion at the hearing:

                        "THE COURT: The problem I have is, none of us were

                involved in Cook County and this was a negotiated plea. We

                agree, right?


                        ICOUNSEL]: Yes.

                        THE COURT: So the judge up there signed an order that he

                was to be given 576 days, and in all of your calculations we,re

                telling this man you don't get 576 because we're calculating it some

                magic way that doesn't include what a judge ordered.

                        [COLTNSEL]: Your Honor, if you order that we add these

                576, then we will do it, but that gives him a later release date.

                       THE COURT: I disagree. You've got a release date right

                now of September 18th,2014, and you're not giving him credit for

                576 days, when   a   judge ordered the department to do that, so if   I
               tell you yes, you have to give him that, then you're going to go back


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          and try to give him a later release date? That doesn't make sense to

          me.


                   ICOUNSEL]: It's the waythe statutes and the

          calculations-

                                            *x{<

                   THE COURT' **x Tell me this. Why doesn't he get the

          576?


                   [ROSSI]: Because the order reads as of the date of this

          order, nunc pro tunc to July 14th, 2010. That's, that,s-my hands

          are tied that's all   I can do.

                                            *tr<*

                  [COLINSEL]: *x* It's not--he's not to get double credit.

          He was already in prison. Those 576 days are for time he was in

          prison serving on the first sentence. The judge is aggregating it

          back to that arrest date.

                                            **{<



                  THE COURT: You just told me the Department        of
          Corrections is not giving him credit for the judge's ordered 576

          days.


                  ICOUNSEL]: Corect, because it's their policy to give the

          most beneficial release date.

                  THE COURT: Where in the statutes does it say you have a


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          right to ignore the judge's order?

                   ICOI-INSEL]: Nowhere, but I believe there is a statute that

          says   without specific dates for custody served he's given the most

          beneficial calculation. I don't have that statute in front of me.

                                            *xt

                   THE COURT: [Counsel], apparently by this motion,

          through what [the Department] told [plaintiff] to do, he contacted

          the judge, and the judge did amend the [sentencing order], stating

          yet again, [']yes, I intended for him to get the 576 days credit.[']

                   ICOI-]NSELI: Except that theyused the July 14th,2010[,]

          date. To give him additional credit, they would have had to use the

          December 2008 date. The order is plain on its face. We're not

          reading into it.




                   THE COURT: Well, the easiest thing to do would be to

         transfer this up there [(Cook County)] to that judge and have the

         judge rule on this, because my belief is when the judge received a

         motion specifically saying [']I'm not getting my 576 days,['] and

         based upon that the judge amended his [sentencing order], although

         he might have put in the wrong date, I can't believe for a second the

         judge wasn't saying yet again [']this was the negotiated plea, this

         was the intent of what he   did.['] Although   maybe we don't do     it

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                 understanding the parameters of how [the Department] calculates

                 things, but bottom line is I just can't help but feel [plaintiffl is not

                 getting what he negotiated for."

'lT    3t                     '        F.   The Trial Court's Ruling

11     32        On June 12,2013, the trial court issued a written ruling that stated, in pertinent

part, as follows:

                         "The [Department] is correct in the legal standards cited to

                 the Court. Mandamus is an extreme remedy and [it] does not

                 involve the exercise of discretion ofjudgment. However, the

                 denial of time negotiated and ordered by a court is not within the

                 discretion of the Illinois Department of Corrections. If the

                Department feels it can ignore court orders and negotiated pleas

                then the system    will surely collapse. The court believes [plaintiff]

                is entitled to affirmative relief, and the Department shall comply

                with the court orders and award [plaintiff] an additional 576 days

                credit from his current out date of September lSth, 20T4.,

fl33            This appeal followed.

''1T   34                                     II. ANALYSIS

1T 35           On appeal, the Department argues that plaintiff      (l)   is not entitled to 576 days   of
credit because those days resulted from "double credit" on consecutive sentences and (2) would

have a later release date   if the 576 days of credit were applied to his    sentence because they would

be calculated from the second sentencing date of July 14,2010, not the original sentencing date



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 of November 5, 2008.

 11   36                  A.   Mandamus Pitciples and the Standard of Review

 137            Our supreme court recently explained the remedy of mandamus in McFatridge          v.


Madigan, 2013n-t8676,n17,989 N.E.2d 165, as follows:

                          " 'Mandamzs is an extraordinary remedy used to compel a

                public officer to perform nondiscretionary offrcial duties.'

                [Citations.] In orderto obtain amandamus remedy, the plaintiff

                must establish a clear right to the requested relief, a clear duty   of
                the public officer to act, and clear authority of the public officer to

                comply with the order. fCitation.] A writ of mandamus is

                appropriate when used to compel compliance with mandatory legal

                standards but not when the act in question involves the exercise      of
                a   public officer's discretion. [Citation.]"

fl38            "Generally, a reviewing court will only reverse a trial court's decision to grant or

deny mandamus when        it is against the manifest weight of the evidence or where the court abused

its discretion." State Board of Elections v. Shelden,354lll. App. 3d 506, 5O9,B2l N.E.2d 69g,

70I (2004). "However, where the court's judgment turns solely on a statute's construction, which

is a question of law, our review is de novo.,, Id.

''lJ 39                        B. Plaintiff   Is Entitled to 576 Days of Credit

!T 40          The Department defends its failure to grant plaintiff 576 days of credit by pointing

out that, under Latona,184Ill. 2dat27l-72,703 N.E.2d atg0T,plaintiff is not entitled to receive

presentencing custody credit for the days during which he was receiving day-for-day credit on his



                                                       t7-
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sentence in case Nos. 05-CR-2601001 through 05-CR-2601401. However, this argument is of no

moment for two separate reasons.

ti   41         First, if the sentencing court did improperly award the 576 days of credit in

violation of the Unified Code of Corrections (Unifred Code),      as the Department argues, the

Department should have sought to correct the sentencing judgment through judicial review (see

People ex rel. Ryan v. Roe,20l    lll.2d 552,778 N.E.2d     701 (2002)   ). It did not. ln fact, the 576
days of credit, whether authorized by the Unified Code or not, were part of       plaintiffs negotiated

plea agreement with the State. Although the Department argues that plaintiff has failed to

establish when and where he earned the 576 days of credit, this missing piece of information

actually places the burden on the Department to establish that plaintiff did not acttally eam the

credits awarded to him by the court. It is not plaintiffs burden to satisfy the Department that the

court's otherwise unchallenged order should be followed.

n42             second, and more important, plaintiff entered a fully negotiated guilty plea

premised on the fact that he would be awarded 576 days of credit. Under the principles         of
People v. Whitfield,2l7   lll.2d 177,840 N.E.2d     658 (2005), due process entitles plaintiff to 576

days off his sentence. Regardless of the label the trial court used to describe the 576 days, the

intent of the State, plaintiff, and the court was for plaintiff to receive a term of seven years, less

576 days. Such a term was within both the statutory range and the sentencing court's discretion.

See   720ILCS 5/16-1(bX6) (West 2003) (class I felony); 730 ILCS 515-4.5-30(a) (West 2008)

(nonextended 4 to 15 years).


1l 43           If the Department believed the 576 days of credit were the product of improper

double crediting by the sentencing court, it should have sought redress in a court of law. Lrstead,


                                                   l8
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the Department simply refused to give effect to the trial court's order because it concluded that

doing so would constitute double crediting. When the trial court amended its order to aggregate

the 576 days of credit with   plaintiffs earlier   cases, as the Department   initially claimed was

necessary, the Department again refused to cornply with the cotrt's amended order.


n44             In this case, plaintiff entered afully negotiated guilty plea with an understanding

that he would get 576 days of credit applied to his sentence. The State agreed to the terms of that

plea and did not seek judicial review of the trial court's sentencing order. The Department's

subsequent calculations deprived    plaintiff of the benefit of his bargain with the State. After

plaintiff complained, the Department informed him what the sentencing court needed to do to

grant him the relief he requested. Plaintiff petitioned the sentencing court, the same court that

accepted his negotiated guilty   ple4 to enter an order as the Department instructed. The court

followed the Department's instructions and issued an amended sentencing order. The State did

not challenge that order, nor did the Department seek any type ofjudicial relief. Instead, the

Department simply declined to follow the sentencing court's order and againrefused to apply the

576 days of credit in a manner that would give plaintiff the benefit of his bargain.

1T   45        The Department has a nondiscretionary duty to comply with the amended

sentencing order in this case. If the Department's position is that plaintiffs 576 days of credit are

void because they were awarded in violation of the Unified Code (see, e.g., People v. Arna,168

Ill. 2d 107,113,   658 N.E.2d 445,448 (1995) (a sentence which does not conform to a statutory

requirement is void)), the remedy is not to simply adminisffatively strike those credits from

plaintiffs negotiated sentence. Such an approach clearly violates the principle of separation of

powers and plaintiffs right to due process. See       Wiffield,2l7 IIl. zdat   189, 840 N.E.2d at 666


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("[I]f a defendant   shows that his plea of guilty was entered in reliance on a plea agreement, he

may have a due process right to enforce the terms of the agreement.").

n46             Whether the terms of a negotiated sentence are lawful or not, due process requires

that a criminal defendant either (1) receive the benefit of.the bargain of the negotiated plea or (2)

be allowed to withdraw his plea       if it was premised on a bargain the law prohibits. Whitfield,2l7

Ill. 2d at202,840 N.E.2d     at   673. In Witfield, the court described the remedy it afforded to the

inmate inRoe,201 Ill. 2dat557,778 N.E.2d at704,as follows:

                "After finding that the sentence, which had been imposed pursuant

               to a plea agreement, violated the law and, therefore, was void, we

               held that an 'equitable solution' would be to modiff the sentence to

               one which defendant proposed and which would approximate the

               penal consequences contemplated by the original plea agreement."

                Witfield, 217 IlI. 2d at 205, 840 N.E.2d     at 67 5.

Here, the trial court in this case granted appropriate relief to plaintiff by ordering the Department

to "award [plaintiff] 576 days of uedit off his calculated out date of September 1Sth, 2014.'

147            Pursuant    to Witfield,   due process requires that     plaintiffs sentence reflect the

conditions of his negotiated guilty plea. If the Department determines plaintiffs sentence is void,

it may not engage in self-help measures to correct the sentence as it        sees   fit. Although such an
approach might expeditiously solve the Department's problems with the sentence,              it fails to

account for the due process implications of administratively altering the terms of a negotiated

plea agreement. The Department must either honor the court's sentencing order or seek judicial

review of the order in a forum that will properly take into account the inmate's due process rights.


                                                    20-
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    The records office of the penitentiary is not a proper forum.

    tT 48              C. The Effect of the Sentencing Court's Nunc Pro Tunc Order

    \4e              The Department's assertion that plaintiffs release date would be later if the 576

    days were applied to his sentence is based on the trial court's amended sentencing order, which

    reads, "credit in aggregate nunc pro tunc   ftom7-14-2010." The Department interpretsthis nunc

    pro tunc order   as directing that the 576 days be calculated from   July 14, 2010, using the

    Department's sentence calculation formula. Such an interpretation, the Department concedes,

    would result in a later release date for plaintiff than if the 576 days were not even added. Given

 *i,s   irr,".pretation, the Department has done nothing with the 576days credited to plaintiff in the

    original and amended sentencing orders.

    fl 50       *"Nunc pro tLtnc" means      "fh]aving retroactive legal effect through a court's inherent        !l
    power." Black's Law Dictionary 1100 (Sth ed.2004). The sentencing court's original sentencing

    order in case No. 08-CR-2252801 was entered on July L4,20t0. [n January             2}ll,the   court

    entered an amended order after   plaintiff explained in a formal, written motion that the

* O.pu*ent told him the 576 days "will not be calculated within the sentence calculation sheet,
    unless this court specifically makes mention of the credit to be aggregated with the consecutive

    sentence." In the amended sentencing order, the court    (l)   ordered   plaintiffs 576   days of credit to

    be aggregated with his previous cases and (2) included the language, "nunc pro tunc          fromT-14-

    2010." We find it obvious that the court's use of the term "nunc pro tunc" was intended only to

    indicate that the order being amended was the original July 14, 2010, sentencing order. Nowhere

    else on the January 2011 amended order does     it identify the order being amended.

    flst                    D. The Proper Calculation of Defendant's         Sentence


                                                     2l
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ns2              The Department's assertion that plaintiffs 576 days of credit,   if applied, must be

calculated from the second sentencing date of July 1,4,2010, is erroneous because (1) the

Department misinterprets the effect of the sentencing court's amended order stating "nunc pro

tunc from 7-14-2010" and (2) the Departmerit fails to treat defendant as if he "had been

committed for a single term." See 730ILCS 5/5-8-a(g) (West 2010).

fl 53            Section 5-8-a(g) of the Unified Code (730 ILCS 5/5-8-4(9) (West 2010)) provides

as    follows:

                         "(g) Consecutive terms; manner served. In determining the

                 manner in which consecutive sentences of imprisonment, one or

                 more of which is for a felony, will be served, the Department    of

                 Corrections shall treat the defendant as though he or she had been

                 committed for a single term *x*.rr

The Department argues, per the nunc pro tunc order,it must calculate the single 7-year term (the

!4-year total sentence on all ofplaintiffs cases, less day-for-day good conduct credits) from July

14,2010. Counting backward from July 14,2010,by 732 days (576 credit days aggregated with

156 credit days), the Department would give     plaintiff a "custody date" of July 2,2008. The 7

years would then be added to that date. Then 8 months and 11 days would be subtracted to

reflect the good-conduct credits plaintiff earned in Department custody, resulting in a release date

later than the Department's current project release date of September 18,2014.

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      s/.
      Jl         However, because section 5-8-a(g) requires the Department to treat plaintiff as if

he were serving a single sentence, the Department should have aggregated the sentencing credits

from all plaintiffs cases (156 days plus 576 days, to equal 732 days) and counted backward from


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plaintiffs first sentencing date of November 5, 2008, then added 7 years, then subtracted the

credits plaintiff earned for good conduct. This result would have (1) complied with section 5-8-

4(g), Q) given the intended effect to the amended sentencing order, and (3) granted plaintiff the

benefit of the bargain resulting from his plea agreement with the State. The Department had no

discretion to calculate plaintiffs sentence in a manner clearly contrary to the court's order.

no           $'*"   conclude that plaintiff has established a clear right to the relief requested,{

specifically, that the length of his total term of imprisonment be reduced by 576 days. The

Department had a clear duty to give effect to the sentencing court's amended order granting

plaintiff such relief. Because the amended sentencing order has never been challenged or

declared void in a court of law, the order is enforceable and it gives the Department clear

authority to grant plaintiff the relief requested.

us6             As a final matter, we take this opportunity to note that, as to the issue of

improperly awarded credit for time served, defendant Rossi testified at the combined hearing,    as


follows:

                "[T]his happens very, very, very often in Cook County when they

                go to court and get another consecutive case. They're ordering the

                dates that he was in county   jail-or     I mean that he was in

                Department of Corrections, Imean. That's avery,verycommon

                sentence for us."

If Rossi is correct that Cook County courts improperly award credit for time served "very, very,

very often," and if the Department's policy is to ignore such double credits when awarded, the

Department, or another appropriate State body, should promptly address the issue. It is possible


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that many such credits have been awarded, as was the case here, pursuant to the terms of a

negotiated plea agreement, thereby implicating the inmate's due process right to the benefit of the

bargain. Plaintiff in this case appears relatively well-educated and particularly capable of

navigating the daunting process'of administrative review followed by judicial review.

Nevertheless, it still took him over three years to obtain the relief we grant him today. Other

inmates in plaintiffs position should not have to rely upon the extraordinary remedy      of
mandamus to realize the benefit of the bargain deriving from their negotiated plea agreement

with the State.

ns7                                       III. CONCLUSION

tT s8             For the foregoing reasons, we affirm the trial court's order granting plaintiffs

petition for writ of mandamas. This order is the mandate of the court, effective immediately.

The clerk is directed to transmit copies of this order to the trial court and parties without delay.

1T   se           Affirmed.




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